







		NO. 12-03-00051-CV



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




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IN RE: KEVIN WADE BROWN§
	ORIGINAL PROCEEDING



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	MEMORANDUM OPINION


PER CURIAM


	The court has considered Relator's petition for writ of mandamus and is of the opinion that
Relator has not furnished a record that is sufficient to show he is entitled to the relief sought.  See
Tex. R. App. P. 52.3.  Accordingly, Relator's petition for writ of mandamus is denied.


Opinion delivered February 19, 2003.

Panel consisted of Worthen, C.J. and Griffith, J.









(PUBLISH)




